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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

MISSOULA DIVISION

KATHERINE GUINNANE, individually,
and as Personal Representative for the
Estate of EDWIN GUINNANE, and
GUINNANE RANCH LLC,

Plaintiffs,
VS.
NANCY DOBBINS, as Personal
Representative for the Estate of ROBERT
DOBBINS,

Defendant.

 

 

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ORDER

IT IS ORDERED that the following exhibits are ADMITTED at trial

without objection:

Plaintiffs’ Exs. 31, 127, 128, 129B, 130

Defendant’s Ex. 37

DATED this 14 of October, 2020.

   

 

Donald W.

olloy, District Judge

United States District Court

 
